
Weight, J.,
delivered the opinion of the Court.
It is well settled as a general rule in this State, that where the purchaser of land has taken a deed with a covenant of warranty alone, and is put in possession and not evicted, a Court of Chancery will not give an injunction, or grant relief against the payment of the consideration, on the ground of defect of title. If there be no fraud in the sale, nor any eviction, the purchaser must rest on the covenants in his deed. Abbott vs. Allen, 2 Johns. Ch. R., 519; Ingram vs. Morgan &amp; Garrett, 4 Humph., 66-68.
*507But if it were conceded that the rule is otherwise, where a suit is actually pending against the purchaser, by a person claiming a paramount title; (2 Johns. Oh. Rep., 545,) yet, in this case, the bill fails to aver that the suit is under a paramount title.
The Chancellor sustained the demurrer and dismissed the bill, and we affirm his decree.
